Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 1 of 35 - Page ID#:
                                     845


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                               COVINGTON DIVISION

  STATE OF TENNESSEE,                         )
  COMMONWEALTH OF KENTUCKY,                   )
  STATE OF OHIO, STATE OF INDIANA,            )
  COMMONWEALTH OF VIRGINIA, and               )
  STATE OF WEST VIRGINIA,                     )
                                              )
                                              )
       Plaintiffs,                            )
                                              )
  v.                                          ) Case No. 2:24-cv-00072-DLB-CJS
                                              ) District Judge David L. Bunning
  MIGUEL CARDONA, in his official capac-      ) Magistrate Judge Candace J. Smith
  ity as Secretary of Education, and UNITED   )
  STATES DEPARTMENT OF EDUCA-                 )
  TION,                                       )
                                              )
        Defendants.                           )

                  MEMORANDUM IN SUPPORT OF THE STATES’
             MOTION FOR A § 705 STAY AND PRELIMINARY INJUNCTION
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 2 of 35 - Page ID#:
                                     846


                                                          TABLE OF CONTENTS



INTRODUCTION ........................................................................................................................................... 1
BACKGROUND .............................................................................................................................................. 3
       A.         Congress Enacts Title IX to Remedy Discrimination Against Women. ............................... 3
       B.         The Department Abandons Its Longstanding Position that Title IX Permits Sex-
                  Separated Programs and Facilities............................................................................................... 4
       C.         The Department Proposes Requiring Schools to Adopt Students’ Gender Identity
                  for Title IX Purposes. ................................................................................................................... 7
       D.         The Department Issues the Final Rule....................................................................................... 8
       E.         Plaintiffs Sue and Now Seek Preliminary Relief. .................................................................... 10
LEGAL STANDARD .................................................................................................................................... 11
ARGUMENT................................................................................................................................................... 11
I.          Plaintiffs Are Likely to Succeed on the Merits of Their Challenge. ...........................................11
       A.         The   Final      Rule          Exceeds               the           Department’s                    Authority               to
                  Implement Title IX. .................................................................................................................... 11
       B.         The Final Rule Violates the Constitution. ............................................................................... 17
       C.         The Final Rule Is Arbitrary and Capricious............................................................................. 19
II.         Plaintiffs Face Irreparable Harm Absent Preliminary Relief. ......................................................21
III.        Preliminary Relief Will Not Harm the Department or the Public Interest. ..............................25
CONCLUSION ............................................................................................................................................... 25




                                                                              i
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 3 of 35 - Page ID#:
                                     847


                                                       TABLE OF AUTHORITIES

                                                                                                                                                 Page(s)

            Cases

303 Creative LLC v. Elenis,
  600 U.S. 570 (2023) .....................................................................................................................................18

Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty.,
  57 F.4th 791 (11th Cir. 2022)............................................................................................................... passim

Arangure v. Whitaker,
  911 F.3d 333 (6th Cir. 2018) ............................................................................................................... 12, 16

Artis v. District of Columbia,
  583 U.S. 71 (2018) .......................................................................................................................................12

Bauer v. Lynch,
  812 F.3d 340 (4th Cir. 2016) ......................................................................................................................12

Bloomberg L.P. v. SEC,
   45 F.4th 462 (D.C. Cir. 2022) ....................................................................................................................20

Bond v. United States,
  572 U.S. 844 (2014) .....................................................................................................................................16

Bostock v. Clayton County,
  590 U.S. 644 (2020) ................................................................................................................. 2, 6, 7, 15, 19

Cameron v. EMW Women’s Surgical Ctr., P.S.C.,
  595 U.S. 267 (2022) .....................................................................................................................................24

Catholic Healthcare Int’l, Inc. v. Genoa Charter Twp.,
  82 F.4th 442 (6th Cir. 2023).......................................................................................................................11

Chevron USA, Inc. v. Nat. Res. Def. Council, Inc.,
  467 U.S. 837 (1984) .....................................................................................................................................12

D.H. by A.H. v. Williamson Cnty. Bd. of Educ.,
  638 F. Supp. 3d 821 (M.D. Tenn. 2022) ..................................................................................................15

Davis ex rel. LaShonda D. v. Monroe Cnty. Bd. of Educ.,
  526 U.S. 629 (1999) .............................................................................................................................. 17, 24

Dep’t of Nat. Res. & Envtl. Control v. EPA,
  785 F.3d 1 (D.C. Cir. 2015)........................................................................................................................20

                                                                              ii
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 4 of 35 - Page ID#:
                                     848


Doe v. Metro. Gov’t of Nashville & Davidson Cnty.,
  35 F.4th 459 (6th Cir. 2022).......................................................................................................................25

Encino Motorcars, LLC v. Navarro,
  579 U.S. 211 (2016) .....................................................................................................................................19

Fortner v. Thomas,
  983 F.2d 1024 (11th Cir. 1993)..................................................................................................................24

Grimm v. Gloucester Cnty. Sch. Bd.,
  972 F.3d 586 (4th Cir. 2020) ......................................................................................................... 12, 13, 25

Grove City Coll. v. Bell,
  465 U.S. 555 (1984) .....................................................................................................................................15

Johnson v. Bauman,
   27 F.4th 384 (6th Cir. 2022).......................................................................................................................12

Kentucky v. Biden,
  23 F.4th 585 (6th Cir. 2022).......................................................................................................................25

Kentucky v. Biden,
  57 F.4th 545 (6th Cir. 2023)................................................................................................................ 21, 25

Kentucky v. Fed. Highway Admin.,
  No. 5:23-cv-162-BJB, ---F. Supp. 3d----, 2024 WL 1402443 (W.D. Ky. Apr. 1, 2024) ....................21

Kentucky v. Yellen,
  54 F.4th 325 (6th Cir. 2022).......................................................................................................... 16, 17, 18

Kisor v. Wilkie,
   139 S. Ct. 2400 (2019).................................................................................................................................15

L.W. ex rel. Williams v. Skrmetti,
  83 F.4th 460 (6th Cir. 2023).............................................................................................................. 2, 3, 15

Long Island Power Auth. v. FERC,
  27 F.4th 705 (D.C. Cir. 2022) ....................................................................................................................11

Louisiana v. U.S. Dep’t of Energy,
  90 F.4th 461 (5th Cir. 2024).......................................................................................................................20

M.L.B. v. S.L.J.,
  519 U.S. 102 (1996) .....................................................................................................................................19

Meister v. U.S. Dep’t of Agric.,
  623 F.3d 363 (6th Cir. 2010) ......................................................................................................................14

                                                                             iii
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 5 of 35 - Page ID#:
                                     849


Meriwether v. Hartop,
  992 F.3d 492 (6th Cir. 2021) .................................................................................................. 10, 15, 17, 18

Meyer v. Nebraska,
  262 U.S. 390 (1923) .....................................................................................................................................19

Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co.,
  463 U.S. 29 (1983) .......................................................................................................................................21

Nat’l Fed’n of Indep. Bus. v. Sebelius,
  567 U.S. 519 (2012) .....................................................................................................................................18

Ohio ex rel. Celebrezze v. Nuclear Reg. Comm’n,
  812 F.2d 288 (6th Cir. 1987) ......................................................................................................................11

Pelcha v. MW Bancorp, Inc.,
   988 F.3d 318 (6th Cir. 2021) ......................................................................................................................15

Pennhurst State Sch. & Hosp. v. Halderman,
  451 U.S. 1 (1981) ..................................................................................................................... 16, 17, 18, 19

Perez v. Mortg. Bankers Ass’n,
   575 U.S. 92 (2015) .......................................................................................................................................20

Sierra Club v. EPA,
   60 F.4th 1008 (6th Cir. 2023).....................................................................................................................11

Smith v. Org. of Foster Fams. for Equal. & Reform,
  431 U.S. 816 (1977) .....................................................................................................................................19

South Dakota v. Dole,
  483 U.S. 203 (1987) .....................................................................................................................................18

Speech First, Inc. v. Cartwright,
  32 F.4th 1110 (11th Cir. 2022) ..................................................................................................................17

Tennessee v. U.S. Dep’t of Educ.,
  615 F. Supp. 3d 807 (E.D. Tenn. 2022) .............................................................................................. 7, 24

Tex. Educ. Agency v. U.S. Dep’t of Educ.,
  992 F.3d 350 (5th Cir. 2021) ......................................................................................................................18

Texas v. United States,
  201 F. Supp. 3d 810 (N.D. Tex. 2016) ................................................................................................ 6, 10

Thompson v. DeWine,
  976 F.3d 610 (6th Cir. 2020) ......................................................................................................................24

                                                                              iv
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 6 of 35 - Page ID#:
                                     850


Thunder Basin Coal Co. v. Reich,
  510 U.S. 200 (1994) .....................................................................................................................................21

United States v. Grant,
  979 F.3d 1141 (6th Cir. 2020) ....................................................................................................................13

United States v. Lopez,
  514 U.S. 549 (1995) .....................................................................................................................................16

United States v. Virginia,
  518 U.S. 515 (1996) ............................................................................................................................ 1, 3, 12

Util. Air Reg. Grp. v. EPA,
  573 U.S. 302 (2014) .....................................................................................................................................12

Van Buren v. United States,
 593 U.S. 374 (2021) .....................................................................................................................................13

West Virgina v. EPA,
 597 U.S. 697 (2022) .....................................................................................................................................16

West Virginia v. U.S. Dep’t of Treasury,
 59 F.4th 1124 (11th Cir. 2023) ..................................................................................................................25

Wilson v. Comm’r. of Soc. Sec.,
 378 F.3d 541 (6th Cir. 2004) ......................................................................................................................11

            U.S. Constitution and Statutes

U.S. Const. art. I, § 8, cl. 1 ....................................................................................................................... 17, 18

5 U.S.C. § 701, et seq. .................................................................................................................... 11, 17, 19, 25

20 U.S.C. § 1681, et seq............................................................................................................................... passim

Ky. Rev. Stat. § 158.189 ..................................................................................................................................24

Ohio Rev. Code § 3313.5320 .........................................................................................................................24

            Rules

Fed. R. Civ. P. 65(c) .........................................................................................................................................11

            Regulations and Guidance

34 C.F.R. pt. 106 ........................................................................................................................................ passim



                                                                               v
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 7 of 35 - Page ID#:
                                     851


Enforcement of Title IX of the Education Amendments of 1972 with respect to Discrimination
  Based on Sexual Orientation and Gender Identity in Light of Bostock v. Clayton County, 86 Fed.
  Reg. 32,637-01 (June 22, 2021).................................................................................................................... 7

Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal
 Financial Assistance,
 87 Fed. Reg. 41,390 (July 12, 2022) ............................................................................................................ 7

Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal Fi-
 nancial Assistance: Sex-Related Eligibility Criteria for Male and Female Athletic Teams,
 88 Fed. Reg. 22,860 (Apr. 13, 2023) ........................................................................................................... 7

Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal
 Financial Assistance,
 89 Fed. Reg. 33,474 (Apr. 29, 2024) ................................................................................................... passim

Reed D. Rubinstein, Memorandum For Kimberly M. Richey, Acting Assistant Secretary of the Of-
  fice for Civil Rights, re: Bostock v. Clayton Cty., 140 S. Ct. 1731 (2020), at 1-4 (Jan. 8, 2021),
  https://perma.cc/Q9YC-Q4Y2 ................................................................................................................. 6

U.S. Dep’t of Educ., Off. for Civ. Rts., Sexual Harassment Guidance: Harassment of Students by
  School Employees, Other Students, or Third Parties,
  62 Fed. Reg. 12,034 (Mar. 13, 1997) ........................................................................................................... 5

U.S. Dep’t of Just. & U.S. Dep’t of Educ., Off. for Civ. Rts., Dear Colleague Letter on Title IX and
  Transgender Students, at 1, 3-4 (May 13, 2016), https://perma.cc/G5VG-ZNV9 ........................... 6

U.S. Dep’t of Just. & U.S. Dep’t of Educ., Off. for Civ. Rts., Dear Colleague Letter on Gender
  Identity Guidance, at 1 (Feb. 22, 2017), https://perma.cc/H6E3-YBEZ. ......................................... 6

            Other Authorities

Exec. Order No. 13,988 86 Fed. Reg. 7,023 (Jan. 20, 2021) ....................................................................... 6

Hearings Before the Special Subcommittee on Education of the Committee on Education and Labor House of Repre-
sentatives on Section 805 of H.R. 16098, 91st Cong. 1-2 (1970)
  H.R. 16098 ....................................................................................................................................................... 3

H.R. Rep. No. 92-554 (1971) ........................................................................................................................... 3

In Defense of Title IX: Why Current Policies Are Required to Ensure Equality of Opportunity,
   14 Marq. Sports L. Rev. 11 (2003) .............................................................................................................. 3

What Divides Textualists from Purposivists?,
 106 Colum. L. Rev. 70 (2006) ............................................................................................................. 13, 14



                                                                                 vi
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 8 of 35 - Page ID#:
                                     852


                                           INTRODUCTION

        For fifty years, Title IX has helped equalize women’s access to educational opportunities by

barring discrimination “on the basis of sex” by schools receiving federal funds. But given the “endur-

ing” physical differences between men and women, United States v. Virginia, 518 U.S. 515, 533 (1996),

Title IX has always allowed schools to separate boys’ and girls’ bathrooms, locker rooms, and sports

teams. These sex-based bounds have long helped protect students’ safety and privacy, as well as secure

Title IX’s promise of helping women achieve academic and athletic success.

        A radical new U.S. Department of Education mandate threatens to upend all of this. In a

Final Rule issued just days ago, the Department distorts Title IX’s prohibition on sex discrimination

by reading it to require schools to protect their students’ “gender identity,” among other supposedly

“sex-based” characteristics. See Doc. # 1-2, U.S. Dep’t of Educ., Nondiscrimination on the Basis of Sex in

Education Programs or Activities Receiving Federal Financial Assistance, 89 Fed. Reg. 33,474 (Apr. 29, 2024).

The Final Rule further adopts a definition of prohibited “harassment” that will punish students and

teachers who fail to abide by this gender-identity mandate. The resulting regime would give almost

anyone on a school’s campus—from preschools through graduate schools—an unfettered right to use

whatever bathroom, locker room, or other private facility he or she chooses. Those who object to

this new normal do so at risk of Title IX sanctions.

        Plaintiff States now seek emergency and preliminary relief against the Final Rule to avoid im-

mense harm in the leadup to the Final Rule’s August 1, 2024 effective date. The Court should grant

relief because the States overwhelmingly satisfy the relevant factors. To start, the States have a sub-

stantial likelihood of success on the merits because the Final Rule flouts Title IX, the U.S. Constitu-

tion, and the Administrative Procedure Act (“APA”). Title IX’s text and longstanding regulations are

replete with provisions using “sex” to reference the binary concept of male versus female and allowing


                                                     1
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 9 of 35 - Page ID#:
                                     853


sex-segregated facilities and programs. The Final Rule thus exceeds the Department’s authority by

prohibiting schools from maintaining these sex-based bounds and compelling them to observe gen-

der-identity notions divorced from sex entirely. Nor does the U.S. Supreme Court’s opinion in Bostock

v. Clayton County, 590 U.S. 644 (2020), counsel differently: As Sixth Circuit precedents “make clear,”

Bostock’s reasoning “applies only to Title VII.” L.W. ex rel. Williams v. Skrmetti, 83 F.4th 460, 484 (6th

Cir. 2023). The Department’s broadened harassment definition heaps injury on injury by chilling the

speech of anyone who objects to the Final Rule’s unprecedented gender-identity mandate.

        The Final Rule also transgresses constitutional limits by wielding Spending-Clause power to

condition billions in States’ educational funding on compliance with a novel gender-identity regime

foreclosed by Title IX’s text—a regime that Congress repeatedly rejected and that violates core First

Amendment protections of speech and religious exercise. The Final Rule’s cursory response to key

comments and self-contradictory reasoning likewise fails baseline administrative-law requirements for

reasoned decision-making. Any one of these flaws independently warrants vacating the Final Rule.

Together, they drive home the grave problems that arise when unelected agencies like the Department

claim power to circumvent statutory constraints with rulemakings that reorder swaths of society.

        The regulations will imminently and irreparably harm the States by, among other things, im-

posing unrecoverable compliance costs and effectively erasing many of the States’ duly enacted laws

protecting privacy, safety, and women’s achievement, in derogation of State sovereignty. Nor would

maintaining the status quo of sex-separated spaces and programs harm the Department, which for

decades understood that system to comply with Title IX. If anything, the balance of equities favors

permitting the States to continue enforcing laws that protect students’ privacy, ensure women’s edu-

cational and athletic opportunities, and vindicate the promise of Title IX’s prohibition of discrimina-

tion on the basis of “sex.”


                                                    2
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 10 of 35 - Page ID#:
                                     854


                                             BACKGROUND

         A.      Congress Enacts Title IX to Remedy Discrimination Against Women.

         Congress passed Title IX to remedy persistent sex-based discrimination against women in

 education. Although Title VI of the Civil Rights Act of 1964 had prohibited discrimination based on

 “race, color, or national origin” in federally supported programs and activities, it didn’t touch sex

 discrimination. So women still faced higher admission standards and exclusion from “male” disci-

 plines and activities in higher education. See Compl. ¶¶ 40-42.

         As a result, by the time of Title IX’s enactment in the early 1970s, women’s educational attain-

 ment lagged their male peers’. See Hearings Before the Special Subcommittee on Education of the Committee on

 Education and Labor House of Representatives on Section 805 of H.R. 16098, 91st Cong. (1970); see also Compl.

 ¶ 41. Women’s athletic participation likewise trailed—only about 30,000 women participated in col-

 lege athletics versus 170,000 men. Jocelyn Samuels and Kristen Galles, In Defense of Title IX: Why

 Current Policies Are Required to Ensure Equality of Opportunity, 14 Marq. Sports L. Rev. 11, 18-19 (2003).

         Enter Title IX’s rule against discrimination “on the basis of sex.” 20 U.S.C. § 1681(a). The

 bill’s Senate sponsor, Birch Bayh of Indiana, called Title IX “[t]he only antidote” to “the continuation

 of corrosive and unjustified discrimination against women … in[] all facets of education.” 118 Cong.

 Rec. 5,803 (1972). His House colleagues echoed this view of Title IX’s purpose and potential, and

 hearing testimony in the leadup to Title IX’s passage likewise supported the need for Title IX. H.R.

 Rep. No. 92-554, at 51-52 (1971); 117 Cong. Rec. 39,252 (1971); see Compl. ¶¶ 43-46.

         Just as clear as Title IX’s remedial purpose is what the statute did not require: Identical treat-

 ment of the sexes in every context. To the contrary, Title IX contains several exceptions to the sex-

 discrimination bar that reflect “‘enduring’ differences between men and women.” L.W., 83 F.4th at

 484 (quoting Virginia, 518 U.S. at 533). For one, to “preserv[e]” “personal privacy,” 118 Cong. Rec.


                                                      3
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 11 of 35 - Page ID#:
                                     855


 5,807 (statement of Sen. Bayh), Title IX expressly allows schools to “maintain[] separate living facilities

 for the different sexes.” 20 U.S.C. § 1686. Title IX also carves out exceptions for certain traditional

 male-only or female-only activities, so long as similar opportunities provided for “one sex” are pro-

 vided for “the other sex.” Id. § 1681(a)(8). These include “father-son or mother-daughter activities,”

 sorority and fraternity membership, and activities of Boys and Girls State. Id. § 1681(a)(6)-(8).

         These provisions and others highlight how Title IX uses the term “sex” to refer to a male-

 female binary. See Compl. ¶ 65 (“one sex,” “the other sex,” “both sexes”). Title IX’s allowance for

 sex-separated facilities and programs would be “meaningless” if schools cannot use sex to assign stu-

 dents to facilities and programs. Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 813

 (11th Cir. 2022) (en banc). Thus, Title IX’s text and structure reflect what Senator Bayh stressed: Title

 IX “provide[d] equal access for women and men students to the educational process,” but did not

 “desegregate” spaces and activities that have long been sex-separated. 117 Cong. Rec. 30,407 (1971).

         On the heels of Title IX, Congress passed the Javits Amendment. That law directed the De-

 partment’s predecessor agency to propose regulations “implementing [Title IX’s] provisions[,] . . .

 includ[ing] with respect to intercollegiate athletic activities[,] reasonable provisions considering the

 nature of particular sports.” 88 Stat. 484, 612 (1974). The law did not extend beyond intercollegiate

 athletics or upset colleges’ longstanding practice of maintaining sex-separated sports teams.

         Congress has authorized federal agencies administering Title IX to “effectuate” Title IX’s pro-

 visions via “rules, regulations, or orders” and to enforce Title IX’s prohibition by terminating a non-

 compliant recipient’s Title IX assistance. 20 U.S.C. § 1682.

         B.      The Department Abandons Its Longstanding Position that Title IX Permits
                 Sex-Separated Programs and Facilities.

         1.      In the decades that followed Title IX’s passage, the Department and its predecessor

 agency carried forward regulations confirming the scope of Title IX’s “sex”-discrimination bar.

                                                     4
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 12 of 35 - Page ID#:
                                     856


         The initial 1975 regulations also treated “sex” as a binary. Like the statute, those regulations

 refer multiple times to “one sex,” especially versus “the other sex,” use the phrase “both sexes,” and

 reference “boys and girls” and “male and female teams.” See, e.g., 34 C.F.R. §§ 106.33, 106.34(a)(3),

 106.36(c), 106.37(a)(3), 106.41(c), 106.51(a)(4), 106.58(a), 106.60(b), 106.61. Also tracking Title IX,

 the regulations permit certain sex-segregated spaces, including “separate housing,” id. § 106.32; “sep-

 arate toilet, locker room, and shower facilities,” id. § 106.33; “separate [sexual-education] sessions for

 boys and girls,” id. § 106.34(a)(3); and separate boys’ and girls’ choirs, id. § 106.34(a)(4). The 1975

 athletics regulations took the same tack. They generally bar discrimination based on “sex” in “inter-

 scholastic, intercollegiate, club or intramural athletics.” Id. § 106.41(a). But they permit schools to

 maintain “separate teams for members of each sex” when team selection is “based upon competitive

 skill” or the sport is a “contact sport.” Id. § 106.41(b). Per the then-applicable procedures, Congress

 received the original regulations and did not disapprove them. See Compl. ¶¶ 69-70.

         For decades, the Department and its predecessor interpreted Title IX’s reference to “sex”

 consistently to bar discrimination based on maleness or femaleness alone. In 1997, for example, the

 Department adopted guidance recognizing that “Title IX does not prohibit discrimination on the basis

 of sexual orientation.” U.S. Dep’t of Educ., Off. for Civ. Rts., Sexual Harassment Guidance: Harass-

 ment of Students by School Employees, Other Students, or Third Parties, 62 Fed. Reg. 12,034, 12,039

 (Mar. 13, 1997), https://perma.cc/AT7Y-KCFC. In other words, it directed that “sex” discrimination

 under Title IX does not protect characteristics distinct from “sex” that may bear some relation to it.

         2.      No agency document took a different position until 2014, when the Obama Depart-

 ment unveiled sparsely reasoned guidance asserting that Title IX bars discrimination based solely on

 “gender identity.” See Compl. ¶¶ 78-82 (discussing guidance documents). Later guidance reiterated

 this conclusion while simultaneously acknowledging that a transgender person’s “gender identity is


                                                     5
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 13 of 35 - Page ID#:
                                     857


 different from the sex they were assigned at birth.” U.S. Dep’t of Just. & U.S. Dep’t of Educ., Off.

 for Civ. Rts., Dear Colleague Letter on Title IX and Transgender Students, at 1, 3-4 (May 13, 2016)

 (rescinded in 2017), https://perma.cc/G5VG-ZNV9. A federal court enjoined the guidance nation-

 wide because, among other reasons, the ordinary meaning of “sex” as used in Title IX unambiguously

 excluded “gender identity.” Texas v. United States, 201 F. Supp. 3d 810, 831-34 (N.D. Tex. 2016).

         The Trump Department promptly rescinded that gender-identity guidance because it lacked

 “extensive legal analysis” and was inconsistent with Title IX’s “express language.” U.S. Dep’t of Just.

 & U.S. Dep’t of Educ., Off. for Civ. Rts., Dear Colleague Letter on Gender Identity Guidance, at 1

 (Feb. 22, 2017), https://perma.cc/H6E3-YBEZ. The Department reaffirmed this position after Bos-

 tock v. Clayton County, 590 U.S. 644, read Title VII’s prohibition on sex discrimination to bar an em-

 ployer’s firing an employee because of sexual orientation or transgender status. Id. at 651-52. That

 makes sense: Bostock did not hold that “sex” meant “gender identity”; it assumed that “sex” refers

 “only to biological distinctions between male and female.” Id. at 655. The Department reasoned that

 construing “sex” to mean “biological sex” is “the only construction consistent with the ordinary public

 meaning of ‘sex’ at the time of Title IX’s enactment,” the statutory and regulatory text and structure,

 and Department practice. Reed D. Rubinstein, Memorandum for Kimberly M. Richey, Acting Assis-

 tant Secretary of the Office for Civil Rights, re: Bostock v. Clayton Cty., 140 S. Ct. 1731 (2020), at 1-4

 (Jan. 8, 2021), https://perma.cc/Q9YC-Q4Y2.

         Things shifted again when, on his first day in office, President Biden issued an Executive

 Order directing every federal agency to regulate consistently with the position that “laws that prohibit

 sex discrimination—including Title IX [and its] implementing regulations—prohibit discrimination

 on the basis of gender identity or sexual orientation.” Exec. Order No. 13,988, 86 Fed. Reg. 7,023,

 7,023 (Jan. 20, 2021). The Biden Department thereafter issued a series of guidance advising that “Title


                                                     6
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 14 of 35 - Page ID#:
                                     858


 IX’s prohibition on discrimination ‘on the basis of sex’ … encompass[ed] discrimination on the basis

 of sexual orientation and gender identity.” 86 Fed. Reg. 32,637-01 (June 22, 2021); see also Compl. ¶¶

 98-103. Later, a federal district court enjoined enforcement of the guidance against Tennessee and

 other States, holding the guidance should have gone through notice-and-comment procedures because

 it “creat[ed] new rights and obligations” that “appear[ed] nowhere in Bostock, Title IX, or its imple-

 menting regulations.” Tennessee v. U.S. Dep’t of Educ., 615 F. Supp. 3d 807, 838-39, 842 (E.D. Tenn.

 2022), appeal pending, No. 22-5807 (6th Cir.) (argued Apr. 26, 2023). That injunction remains in place.

        C.      The Department Proposes Requiring Schools to Adopt Students’ Gender Iden-
                tity for Title IX Purposes.

        At around the same time, the Department shifted its focus to the rulemaking giving rise to

 this suit. In July 2022, the Department proposed amendments to its Title IX regulations that advanced

 the same reading of sex delineated in the enjoined guidance documents. See Notice of Proposed

 Rulemaking re: Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving

 Federal Financial Assistance, 87 Fed. Reg. 41,390 (July 12, 2022) (“Proposed Rule”). In relevant part,

 the Proposed Rule redefined sex discrimination under Title IX to “include[] discrimination on the

 basis of sex stereotypes, sex characteristics, pregnancy or related conditions, sexual orientation, and

 gender identity.” Id. at 41,571. And it confirmed that school policies “that prevent[] a person from

 participating in an education program or activity consistent with the person’s gender identity” would

 constitute unlawful discrimination. Id. The Proposed Rule likewise expanded its definition of pro-

 hibited “harassment” to include “all forms of sex-based harassment, as opposed to only sexual har-

 assment,” including harassment based on gender identity. Id. at 41,410.

        The Department later proposed a second Title IX rule addressing the application of its new

 interpretation of sex discrimination to athletics. See 88 Fed. Reg. 22,860 (Apr. 13, 2023). In it, the

 Department proposed amendments to the 1975 athletics regulation for the first time, proposing to

                                                   7
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 15 of 35 - Page ID#:
                                     859


 specify that applying “sex-related eligibility criteria” to deny students’ access to sports teams would

 violate Title IX in many, if not most, cases. Id. at 22,860, 22,875. The Proposed Athletics Rule would

 thus invalidate States’ and schools’ across-the-board policies stating that sports participation must be

 determined on the basis of sex, not gender identity. Id. at 22,871-72.

        Both proposals prompted more than 150,000 comments. 1 Tennessee filed comment letters

 opposing both Proposed Rules on statutory, constitutional, and APA grounds, joined by almost all

 Plaintiff States, including Kentucky. See Docs. # 1-3, 1-4. The States urged the Department to with-

 draw its reading in order to protect students’ safety and women’s educational opportunities. Doc. #

 1-3 at 9-14; Doc. # 1-4 at 15-18. A coalition of states led by Indiana filed a separate comment oppos-

 ing the Proposed Athletics Rule, because among other reasons, it would thwart women’s Title IX right

 to fully and fairly compete in athletic competitions. See Doc. # 1-5. Many other commenters raised

 similar concerns. See generally Compl. ¶¶ 117-125, 132-37.

        D.      The Department Issues the Final Rule.

        On April 29, 2024, the Secretary published the final version of the Proposed Facilities-and-

 Programs Rule. See Doc. # 1-2, 89 Fed. Reg. 33,474 (Apr. 29, 2024) (“Final Rule”). Despite wide-

 spread opposition, the Department mostly adopted its initial approach.

        The Final Rule states that unlawful “sex discrimination” covers “any discrimination that de-

 pends” even “in part on consideration of a person’s sex,” 89 Fed. Reg. at 33,803, including but not

 limited to “discrimination on the basis of sex stereotypes, sex characteristics, pregnancy or related

 conditions, sexual orientation, and gender identity,” id. at 33,886 (adding 34 C.F.R. § 106.10). This

 new definition has radical ramifications: The Final Rule directs that schools cannot lawfully enforce


        1
           Comments on the Proposed Facilities-and-Programs Rule are available at https://www.reg-
 ulations.gov/document/ED-2021-OCR-0166-0001/comment. Comments on the Proposed Athlet-
 ics Rule are available at https://www.regulations.gov/docket/ED-2022-OCR-0143/comments.
                                                    8
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 16 of 35 - Page ID#:
                                     860


 commonplace, sex-based divisions between male and female bathrooms, locker rooms, and the like;

 instead, they must permit persons to access such spaces “consistent with their gender identity.” Id. at

 33,887 (amending 34 C.F.R. § 106.31(a)); see also id. at 33,816-17, 33,818-20. The Department refuses

 to define “gender identity” but concedes that it is an internal, subjective “sense” of “gender.” Id. at

 33,809. Of course, Title IX itself expressly allows sex separation, contrary to the Department’s gender-

 identity mandate. But rather than reevaluate how its reading clashes with Title IX’s text and structure,

 the Department reasons that Title IX’s exclusions show Congress intended to “permit” schools to

 inflict “more than de minimis harm” on affected students in those “contexts”—as when students seek

 to use “living facilities” inconsistent with their sex. E.g., id. at 33,816.

         This gender-identity mandate extends to anyone “participating or attempting to participate” in

 a recipient’s program or activity—including students from other schools, visiting lecturers, and invited

 community members. Id. at 33,816 (emphasis added). And the Final Rule prohibits schools from

 verifying or otherwise inquiring into a person’s purported gender identity—meaning they generally

 must grant anyone on campus an unfettered right to use opposite-sex facilities, no questions asked.

 Id. at 33,816, 33,818-19. Rather than address commenters’ evidence-backed privacy and safety con-

 cerns with this regime, the Final Rule casts them off as “cisgender” persons’ “preferences [and] dis-

 comfort” or “unconstitutional discrimination.” Id. at 33,820.

         The Final Rule tries to blunt the impact of its broad gender-identity mandate on women’s

 athletics, promising that more specific “criteria” for using sex and sports will come at some later date.

 Id. at 33,817. To justify treating sports differently than other “program[s] and activit[ies],” 34 C.F.R.

 § 106.1, the Final Rule states that Title IX’s “longstanding” regulations “have always permitted” sex-

 separate athletic teams. 89 Fed. Reg. at 33,817, 33,819; see also id. at 33,816 (citing 34 C.F.R. §

 106.41(b)). The Department does not explain why this reasoning holds for sports, but not for single-


                                                       9
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 17 of 35 - Page ID#:
                                     861


 sex bathrooms, locker rooms, and other programs permitted by the Title IX regulations for just as

 long. See Compl. ¶¶ 148-49; see also 34 C.F.R. §§ 106.33-.34.

         The Final Rule folds its gender-identity mandate into a new and expansive definition of pro-

 hibited Title IX “sexual harassment.” Under the Final Rule, the “harassment” regulations cover any

 speech or religious expression, on campus or online, that might reasonably be deemed “unwelcome,”

 “offensive,” and “limit[ing]” of a student’s educational participation. 89 Fed. Reg. at 33,884 (amending

 34 C.F.R. § 106.2); see id. at 33,515, 33,562. The Final Rule says it will address any future First Amend-

 ment problems with this broad definition on a case-by-case basis, see Compl. ¶ 179, ignoring that the

 Sixth Circuit and other courts have held that the First Amendment protects students’ and faculty’s

 prerogative not to “communicat[e] messages about gender identity [they] believe[] are false,” including

 by using “a pronoun that reflects a student’s self-asserted gender identity” rather than sex. Meriwether

 v. Hartop, 992 F.3d 492, 498-99, 512-13 (6th Cir. 2021). By issuing this Final Rule, the Department is

 pushing a results-oriented mandate without seriously considering its constitutional defects.

         E.      Plaintiffs Sue and Now Seek Preliminary Relief.

         Plaintiffs filed this suit the day after the Final Rule’s publication in the Federal Register. See

 Compl. (Apr. 30, 2024). Plaintiffs request that this Court vacate the Final Rule as unlawful under Title

 IX, the U.S. Constitution, and the APA. States have filed challenges across the country presenting

 similar arguments and requesting relief. 2

         The Final Rule is set to take effect on August 1, 2024, necessitating a flurry of compliance

 preparations in the meantime. Plaintiffs thus seek interim and preliminary relief from the Final Rule

 pending this Court’s resolution of the case.


         2
           Texas v. United States, No. 2:24-cv-00086-Z (N.D. Tex. Apr. 29, 2024); Louisiana v. U.S. Dep’t
 of Educ., No. 3:24-cv-00563 (W.D. La. Apr. 29, 2024); Alabama v. Cardona, No. 7:24-cv-00533 (N.D.
 Ala. Apr. 29, 2024).
                                                    10
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 18 of 35 - Page ID#:
                                     862


                                            LEGAL STANDARD

         The States ask this Court to “postpone the effective date” of the Final Rule under 5 U.S.C.

 § 705 and to issue a preliminary injunction against associated enforcement. Both routes to relief allow

 a court to “preserve status or rights pending” completion of the proceedings by pausing the Final

 Rule’s effect. 5 U.S.C. § 705; see also Fed. R. Civ. P. 65(c). Courts consider four factors to determine

 whether relief is appropriate: (1) whether the movant is “likely to succeed on the merits”; (2) the

 likelihood of “irreparable harm” to the movant in the absence of preliminary relief; (3) the “balance

 of equities”; and (4) whether preliminary relief would serve the “public interest.” Catholic Healthcare

 Int’l, Inc. v. Genoa Charter Twp., 82 F.4th 442, 447 (6th Cir. 2023); see also Ohio ex rel. Celebrezze v. Nuclear

 Reg. Comm’n, 812 F.2d 288, 290 (6th Cir. 1987) (applying these factors under § 705).

                                                 ARGUMENT

          All factors support granting Plaintiffs preliminary relief against the Final Rule’s attempt to

  convert Title IX’s bar on “sex” discrimination into a sweeping gender-identity mandate.

 I.      Plaintiffs Are Likely to Succeed on the Merits of Their Challenge.

         The APA directs courts to set aside and vacate “final agency action” that is unlawful. 5 U.S.C.

 §§ 704, 706(2); see Sierra Club v. EPA, 60 F.4th 1008, 1021 (6th Cir. 2023) (“Reviewing courts certainly

 have the power to vacate an agency action they find unlawful.”); Long Island Power Auth. v. FERC, 27

 F.4th 705, 717 (D.C. Cir. 2022). To pass APA muster, agencies cannot exceed their lawful authority,

 act “contrary to constitutional right,” or engage in “arbitrary [or] capricious” decision-making.

 5 U.S.C. § 706(2). The Final Rule commits all three errors.

         A.       The Final Rule Exceeds the Department’s Authority to Implement Title IX.

         To act within their lawful authority, agencies must obey their governing statutes and regula-

 tions. See 5 U.S.C. § 706(2)(C); Wilson v. Comm’r. of Soc. Sec., 378 F.3d 541, 545 (6th Cir. 2004). This


                                                        11
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 19 of 35 - Page ID#:
                                     863


 baseline principle forecloses the Final Rule’s gender-identity mandate, which flagrantly contravenes

 Title IX’s text, structure, history, and regulations.

                 1.       The Gender-Identity Mandate Violates Title IX and the Department’s
                          Regulations.

         “[A]n agency may not rewrite clear statutory terms to suit its own sense of how the statute

 should operate.” Util. Air Reg. Grp. v. EPA, 573 U.S. 302, 328 (2014). Here, the “‘traditional tools’ of

 statutory interpretation”—text, structure, and history—uniformly confirm that the Department’s in-

 terpretation is “contrary to the clear meaning of” Title IX. Arangure v. Whitaker, 911 F.3d 333, 336

 (6th Cir. 2018) (quoting Chevron USA, Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 843 n.9 (1984)).

         Title IX. The analysis here can begin and end with the “ordinary meaning” of Title IX’s text.

 Johnson v. Bauman, 27 F.4th 384, 388-89 (6th Cir. 2022) (quoting Artis v. District of Columbia, 583 U.S.

 71, 83 (2018)). “Sex” clearly defines Title IX’s anti-discrimination scope. And as the en banc Eleventh

 Circuit found in Adams, “[r]eputable dictionary definitions of ‘sex’” from the time of Title IX’s enact-

 ment “show that when Congress prohibited discrimination on the basis of ‘sex’ in education, it meant

 biological sex, i.e., discrimination between males and females.” 57 F.4th at 815; accord Grimm v. Glouces-

 ter Cnty. Sch. Bd., 972 F.3d 586, 632-33 (4th Cir. 2020) (Niemeyer, J., dissenting) (collecting defini-

 tions). 3 These sources confirm that Title IX uses “sex” to reference the categories of “male” and

 “female,” which “are not physiologically the same.” Bauer v. Lynch, 812 F.3d 340, 350 (4th Cir. 2016)

 (citing Virginia, 518 U.S. at 550 & n.19 (noting the “undoubt[ed]” need for “privacy from the other

 sex in living arrangements”)).


         3
           See also, e.g., The American College Dictionary 1109 (1970) (“the sum of the anatomical and phys-
 iological differences with reference to which the male and the female are distinguished”); The Random
 House College Dictionary 1206 (rev. ed. 1973) (“either the male or female division of a species, esp. as
 differentiated with reference to the reproductive functions”).



                                                         12
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 20 of 35 - Page ID#:
                                     864


         Though Title IX’s “on the basis of sex” language is “trouble” enough for the Department, a

 “wider look at the statute’s structure gives … even more reason for pause.” Van Buren v. United States,

 593 U.S. 374, 389 (2021) (citation omitted). Title IX expressly states that it does not “prohibit any

 educational institution … from maintaining separate living facilities for the different sexes,” i.e., “for”

 males and females. 20 U.S.C. § 1686 (emphasis added). And the statute consistently treats sex as a

 binary, using phrases such as “one sex,” “the other sex,” and “both sexes.” The statute excepts from

 its coverage certain organizations whose membership “has traditionally been limited to persons of one

 sex,” id. § 1681(a)(6) (emphasis added); “father-son or mother-daughter activities” so long as similar

 opportunities provided for “one sex” are provided for “the other sex,” id. § 1681(a)(8) (emphasis added);

 and scholarships associated with beauty-pageant participation “limited to individuals of one sex only,”

 id. § 1681(a)(8). Title IX also clarifies that it does not require “preferential or disparate treatment to

 the members of one sex.” Id. § 1681(b). And many of its exclusions from coverage preserve male-only

 or female-only spaces, such as college fraternities and sororities and sex-segregated voluntary service

 organizations like the Boy Scouts and Girl Scouts. Id. § 1681(a)(6); see also id. § 1681(a)(7).

         Title IX thus sets out provisions that schools can enforce only by reference to students’ sex.

 It would render these provisions “meaningless” if schools must apply them based not on sex, but

 instead on students’ “gender identity or transgender status.” Adams, 57 F.4th at 813. 4

         Title IX’s linguistic context, which is essential to determining a statute’s “plain meaning,” con-

 firms that “sex” has a distinct meaning from “gender identity” or other so-called “sex-based” charac-

 teristics. United States v. Grant, 979 F.3d 1141, 1145 (6th Cir. 2020) (quoting John Manning, What

 Divides Textualists from Purposivists?, 106 Colum. L. Rev. 70, 79-80 (2006)). “The phrase ‘gender identity’


         Accord Grimm, 972 F.3d at 634 (Neimeyer, J., dissenting) (requiring female to use male re-
         4

 stroom “compromises the separation as explicitly authorized by Title IX”).

                                                     13
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 21 of 35 - Page ID#:
                                     865


 did not exist” in 1972 “outside of some esoteric psychological publications.” Ryan T. Anderson,

 Ph.D, & Melody Wood, Gender Identity Policies in Schools: What Congress, the Courts, and the Trump Admin-

 istration Should Do, at 9, The Heritage Found. (2017). And the word “gender” had itself “been coined

 only recently in contradistinction to sex.” Id. Indeed, “psychiatric literature” at the time “conflated

 sexual orientation with gender identity.” Adams, 57 F.4th 1299, 1336 (11th Cir. 2021) (Pryor, C.J.,

 dissenting) (citations omitted), rev’d on reh’g en banc, 57 F.4th 791. Plainly, the ordinary public meaning

 of “sex” could not have encompassed “gender identity” when Title IX became law.

         Title IX’s history and purpose confirm what Title IX’s text and structure reveal. As the Com-

 plaint details, see ¶ 43, Title IX emerged from seven days of congressional hearings examining the

 problem of “discrimination against women.” Compl. ¶ 7 (quoting statement of Rep. Green). Key

 sponsors of the law deemed Title IX “[t]he only antidote” to “the continuation of corrosive and un-

 justified discrimination against women . . . in[] all facets of education.” 118 Cong. Rec. 5,803 (state-

 ment of Sen. Bayh); see supra p. 3. Congress used the binary term “sex” to do that, while still allowing

 some “differential treatment by sex” to protect persons’ “personal privacy.” Id. at 5,807.

         Regulations. For many of the same reasons, the Department’s reading of Title IX violates the

 “elemental principle of administrative law that agencies are bound to follow their own regulations.”

 Meister v. U.S. Dep’t of Agric., 623 F.3d 363, 371 (6th Cir. 2010) (citation omitted). The Final Rule

 maintains, as-is, the 1975 regulations that allow sex-separated “toilet, locker room, and shower facili-

 ties,” among other things. See 89 Fed. Reg. at 33,816, 33,818-20 (discussing 34 C.F.R. §§ 106.33-.34);

 Compl. ¶¶ 148-51. But like Title IX’s statutory exclusions, these regulations expressly contemplate

 and permit schools’ dividing certain areas based on students’ sex—not other characteristics like gender

 identity. See supra p. 4-5. So the Final Rule’s gender-identity mandate conflicts with the plain meaning

 of regulations that remain on the books. And the Department concedes that the fact Congress did


                                                     14
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 22 of 35 - Page ID#:
                                     866


 not disapprove these original regulations “strongly implies that [they] accurately reflect congressional

 intent.” 89 Fed. Reg. at 33,816-17 (quoting Grove City Coll. v. Bell, 465 U.S. 555, 568 (1984)). At a

 minimum, the Final Rule’s interpretation of those regulations as allowing schools to have but not

 enforce sex-based categories does not “fall within the bounds of reasonable interpretation.” Kisor v.

 Wilkie, 139 S. Ct. 2400, 2416 (2019) (cleaned up); cf. D.H. by A.H. v. Williamson Cnty. Bd. of Educ., 638

 F. Supp. 3d 821, 835 (M.D. Tenn. 2022) (noting such an argument “appears to contradict the very

 purpose of allowing separate facilities”).

                 2.      Neither Bostock Nor Deference Licenses the Department’s Reading.

         The Final Rule does not meaningfully dispute that “sex” means “sex.” Instead, the Depart-

 ment principally grounds its reading in Bostock and an argument that the Department’s effort to “ef-

 fectuate” Title IX’s anti-discrimination purposes warrants deference. 89 Fed. Reg. at 33,804 (citing

 20 U.S.C. § 1682). Neither argument works.

         This Circuit’s precedents foreclose the Department’s effort to graft Bostock’s Title VII holding

 onto Title IX. Bostock itself assumed that “sex” “refer[ed] only to biological distinctions between male

 and female”—the meaning of “sex” Plaintiffs advance here. Adams, 57 F.4th at 813-14 (quoting Bos-

 tock, 590 U.S. at 655). And Bostock limited its holding to Title VII’s prohibition on discriminatory

 hiring and firing by stressing the decision did “not purport to address bathrooms, locker rooms, or

 anything else of the kind.” 590 U.S. at 681. The Department previously and correctly agreed. See

 supra p. 6; Compl. ¶ 96. This Circuit, moreover, has repeatedly held that Bostock’s “reasoning applies

 only to Title VII.” L.W., 83 F.4th at 484 (citing Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th Cir.

 2021)); Meriwether, 992 F.3d at 510 n.4 (noting the “important” distinctions between Title VII and Title

 IX, including Title IX’s express allowance of sex-separated facilities in §1686). Therefore, Bostock does

 not permit the Department to read a gender-identity mandate into Title IX.


                                                    15
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 23 of 35 - Page ID#:
                                     867


         Even were Title IX’s reference to “sex” ambiguous in some respects, the Department’s prof-

 fered interpretation would warrant no deference. Whatever Chevron’s shelf life, 5 it does not permit the

 Final Rule’s re-interpretation of “sex” discrimination. To start, the Department needs clear congres-

 sional authority, not just an arguable Chevron hook, to enshrine a novel, nationwide gender-identity

 mandate of vast “political significance.” West Virgina v. EPA, 597 U.S. 697, 729-30 (2022) (citation

 omitted). Title IX likewise lacks the required “clear statement” allowing the Department to intrude

 on States’ educational systems, the management of which is a “core aspect of state sovereignty.” Bond

 v. United States, 572 U.S. 844, 858 (2014); Kentucky v. Yellen, 54 F.4th 325, 352 (6th Cir. 2022); see United

 States v. Lopez, 514 U.S. 549, 564 (1995) (noting States’ “historical[] … sovereign[ty]” in education).

 For the same reason, the Spending-Clause clear-statement rule forbids the Department from condi-

 tioning Title IX funds on recipients’ following its mandate absent “clear” direction from Congress.

 Yellen, 54 F.4th at 353-54 (quoting Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981)).

 Finally, the Final Rule has significant constitutional defects, infra pp. 17-19, and the constitutional-

 avoidance canon “take[s] precedence” over any interpretive deference the Department might claim.

 Arangure, 911 F.3d at 339-40.

                 3.       The “Harassment” Definition Is Also Unlawful.

         The Department further exceeded its statutory authority in adopting an expansive definition

 of prohibited Title IX “harassment.” See Compl. ¶¶ 175-83. The Final Rule newly defines punishable

 harassment as conduct that—from the complainant’s view—is so “severe or pervasive” as to “limit[] .

 . . a person’s ability to participate in or benefit from the recipient’s education program or activity.” 89

 Fed. Reg. at 33,884 (34 C.F.R. § 106.2) (emphases added). This formulation goes beyond the Supreme


         5
           By the end of the current Term, the Supreme Court is expected to issue a decision in a set of
 cases raising the question of “whether the Court should overrule Chevron.” See Loper Bright Enters. v.
 Raimondo (No. 22-451); Relentless, Inc. v. U.S. Dep’t of Commerce (No. 22-1219).
                                                      16
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 24 of 35 - Page ID#:
                                     868


 Court’s definition of actionable Title IX harassment, which is limited to conduct that is “so severe,

 pervasive, and objectively offensive that it denies its victims … equal access to education.” Davis ex rel.

 LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 652 (1999) (emphases added). In so doing, the

 Final Rule’s definition risks punishing students for a single instance of speech and schools for conduct

 not fairly attributable to their educational program. See Compl. ¶¶ 177-78, 183.

         The harassment definition’s breadth also runs afoul of the First Amendment by, for example,

 requiring students and teachers to use “preferred” rather than accurate pronouns. Cf. Compl. ¶ 180

 (similar enforcement policy). The Sixth Circuit and others have held that such policies present First

 Amendment problems by compelling speech in violation of students’ and teachers’ moral and religious

 beliefs. See Meriwether, 992 F.3d at 498-500, 505; accord Speech First, Inc. v. Cartwright, 32 F.4th 1110,

 1125-27 (11th Cir. 2022). The Final Rule’s harassment definition thus overruns statutory and consti-

 tutional guardrails on the Department’s power to police educational speech and expression.

         B.      The Final Rule Violates the Constitution.

         The Final Rule’s multiple constitutional failings independently warrant vacatur. See 5 U.S.C.

 § 706(2)(B). First, if Title IX means what the Department says in the Final Rule, then Title IX’s pro-

 hibition on sex discrimination transgresses the Spending Clause several times over. See U.S. Const.

 art. I, § 8, cl. 1. Funding under the Spending Clause functions “much in the nature of a contract: in

 return for federal funds, the States agree to comply with federally imposed conditions.” Yellen, 54

 F.4th at 347-48 (quoting Pennhurst, 451 U.S. at 17). That framework means that “if Congress intends

 to impose a condition on the grant of federal moneys [under its Spending Clause authority], it must

 do so unambiguously.” Id. (quoting Pennhurst, 451 U.S. at 17). This “clear-statement rule” applies

 with particular force when a federal-funding condition “encroache[s] upon a traditional state power,”

 such as the regulation of education. Id. at 354 (citation omitted). And because the spending power


                                                     17
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 25 of 35 - Page ID#:
                                     869


 belongs only to Congress, see U.S. Const. art. I, § 8, cl. 1, spending conditions for grants “must come

 directly from the statute” rather than an agency, Tex. Educ. Agency v. U.S. Dep’t of Educ., 992 F.3d 350,

 361 (5th Cir. 2021). As this Circuit put it in Yellen, “Congress itself must have spoken with a ‘clear

 voice.’” 54 F.4th at 354 (quoting Pennhurst, 451 U.S. at 17).

         Title IX is indisputably a Spending-Clause statute. Yet it lacks any congressional statement—

 let alone a clear one—authorizing the Department to condition funding on recipients’ following the

 Final Rule’s gender-identity mandate. Thus, as the Eleventh Circuit reasoned in Adams, the Final

 Rule’s interpretation violates the Spending-Clause clear-statement rule. 57 F.4th at 815. The Final

 Rule’s (i) highly coercive effect due to its link to billions in state funding, see Nat’l Fed’n of Indep. Bus. v.

 Sebelius, 567 U.S. 519, 577-78, 580-82 (2012) (opinion of Roberts, C.J., joined by Breyer & Kagan, JJ.);

 (ii) utter perversion of Title IX’s “purpose” to protect women from sex discrimination, South Dakota

 v. Dole, 483 U.S. 203, 207-08 (1987); and (iii) risk of requiring States to unconstitutionally infringe

 students’ and teachers’ First Amendment expression and religious practice, id. at 210-11—provide

 further bases for invaliding the Final Rule under the Spending Clause.

         Second, the Final Rule raises significant free-speech and free-exercise problems. Prior Depart-

 ment enforcement reveals that the Department believes its gender-identity mandate to require school

 administrators to use gender-identity-based pronouns for a student. See Compl. ¶¶ 81-82, 213 & note

 30. Read that way, the Final Rule would violate this Circuit’s interpretation of the First Amendment

 as protecting at least the rights of professors at public universities to decline to use pronouns incon-

 sistent with the student’s sex when teaching. See Meriwether, 992 F.3d at 498-500, 505. Compelling

 students and teachers to speak—even online and off campus—in ways that violate deeply held con-

 science and religious beliefs transgresses core constitutional protections. 303 Creative LLC v. Elenis,

 600 U.S. 570, 586 (2023) (“[T]he government may not compel a person to speak its own preferred


                                                        18
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 26 of 35 - Page ID#:
                                     870


 messages.”). The Final Rule’s expansive definition of “hostile environment harassment” compounds

 these First Amendment problems. 89 Fed. Reg. at 33,493, 33,884; see supra p. 10.

         Third, by requiring school administrators to “respond promptly and effectively” to accommo-

 date a student’s stated gender identity, 89 Fed. Reg. at 33,533, 33,888 (amending § 106.44(a)); see also

 Compl. ¶¶ 112, 163-64, the Final Rule trespasses on the “substantive and procedural protection[s]”

 that our Constitution extends to cover the right of parents to “[]bring [up]” their children as they deem

 fit. Smith v. Org. of Foster Fams. for Equal. & Reform, 431 U.S. 816, 842 (1977); M.L.B. v. S.L.J., 519 U.S.

 102, 116 (1996) (citing Meyer v. Nebraska, 262 U.S. 390 (1923)). Though the Final Rule gestures at

 certain parental rights, see 89 Fed. Reg. at 33,821-22, it nowhere states that parental opposition requires

 schools to exempt students from Title IX’s new gender-identity mandate. To the contrary, the Final

 Rule suggests that Title IX could trump parents’ preferences about their child’s treatment depending

 on the case. See, e.g., id. at 33,822. This requirement facially infringes the rights of parents whose

 children will be subject to the Final Rule’s gender-identity mandate.

         C.      The Final Rule Is Arbitrary and Capricious.

         The Final Rule also impermissibly rests on flawed reasoning. See 5 U.S.C. § 706(2)(A).

         First, the Department flouts its obligation to offer a “reasoned explanation” for departing from

 its longstanding view on the meaning of “sex” in Title IX. See Encino Motorcars, LLC v. Navarro, 579

 U.S. 211, 221 (2016). The Department hinges its change in position on Bostock—having abandoned

 its incredible previous claim that it “does not have a ‘long-standing construction’ of the term ‘sex’ in

 Title IX to mean ‘biological sex.’” 87 Fed. Reg. at 41,537. But it is arbitrary to rely on Bostock, which

 disclaimed “address[ing] bathrooms, locker rooms, or anything else of the kind.” 590 U.S. at 681. Nor

 does the Final Rule’s Bostock-based, but-for reasoning account for “nonbinary” students who identify

 with neither sex or who assert an identity or preferred pronouns de-linked from sex entirely.


                                                     19
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 27 of 35 - Page ID#:
                                     871


         Second, the Department’s justifications reflect ill-supported and “self-contradictory … logic.”

 Del. Dep’t of Nat. Res. & Envtl. Control v. EPA, 785 F.3d 1, 16 (D.C. Cir. 2015) (citation omitted). The

 Department points to Congress’s allowing sex-separation in “living facilities” and the exceptions in

 20 U.S.C. § 1681(1)-(9) as justification for omitting such facilities and programs from its gender-iden-

 tity mandate. 89 Fed. Reg. at 33,816, 33,818-19. At the same time, the Department arbitrarily applies

 its gender-identity mandate to bathrooms, toilets, and showers, which its existing regulations likewise

 allow to be separated based on sex. See Compl. ¶¶ 148-49. Nor can the Department identify a rational

 basis for allowing school activities associated with Girls and Boys State to restrict participation based

 on sex, see 20 U.S.C. § 1681(a)(7), yet requiring boys identifying as girls to participate in sex-ed classes

 for girls. Absent too is any explanation for why the Department’s “longstanding athletics regulations”

 support continuing to allow some (unspecified) enforcement of sex-separate sports, 89 Fed. Reg. at

 33,817, but the equally “longstanding” regulations governing bathrooms and locker rooms do not.

         Third, the Department failed to adequately “consider and respond to significant comments

 received during the period for public comment.” Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015).

 The Final Rule claims “nothing in the[] regulations” conflicts with the First Amendment. Compl. ¶

 179 (collecting examples). Yet it relies on Title VII EEOC harassment guidance that implicates free

 speech rights on its face. Compl. ¶¶ 180-81. The Final Rule defers hard constitutional questions to

 resolution in future cases, 89 Fed. Reg. at 33,512, saying it lacks needed facts to address “specific

 examples,” id. at 33,509, 33,512. But elsewhere the Final Rule references examples provided for “il-

 lustrative purposes.” Id. at 33,512; Compl. ¶ 162. “[B]are acknowledgement is no substitute for rea-

 soned consideration,” Louisiana v. U.S. Dep’t of Energy, 90 F.4th 461, 473 (5th Cir. 2024), and an agency

 cannot adopt sweeping rules with serious here-and-now consequences, while kicking the can on an-

 swering requests for guidance, see Bloomberg L.P. v. SEC, 45 F.4th 462, 476-77 (D.C. Cir. 2022).


                                                     20
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 28 of 35 - Page ID#:
                                     872


         Fourth, the Department “entirely fail[s] to consider [certain] important aspect[s] of the prob-

 lem” or address relevant evidence that “runs counter” to its cost-benefit determination. Motor Vehicle

 Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). The Department sidesteps com-

 ments that the Final Rule endangers privacy and safety interests by ignoring safety-incident evidence

 entirely. See Compl. ¶¶ 168-70, 257. The Department rejects the view that the Final Rule will result

 in men “limit[ing] educational opportunities for girls and women,” 89 Fed. Reg. at 33,808, by ignoring

 evidence that men identifying as women have already taken girls’ awards, honors, and championships,

 see Compl. ¶ 172. The Department fails to consider evidence of the biological differences between

 men and women that have long justified sex-separated facilities, certain sex-separated classes, and sex-

 separated sports. See Compl. ¶ 13. And the Department downplays the grave compliance and safety

 challenges with structuring school operations based on notions of gender identity that are subjective,

 internal, and subject to change. Doc. # 1-3 at 9-12.

 II.     The States Face Irreparable Harm Absent Preliminary Relief.

         Without immediate judicial intervention, the Final Rule will inflict irreparable harm on the

 States, their school systems, and their citizens.

         First, the States would suffer the “irreparable harm of nonrecoverable compliance costs.” Ken-

 tucky v. Biden, 57 F.4th 545, 556 (6th Cir. 2023) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200,

 220-21 (1994) (Scalia, J., concurring in part)); cf. Kentucky v. Fed. Highway Admin., No. 5:23-cv-162-BJB,

 ---F. Supp. 3d----, 2024 WL 1402443, at *3 (W.D. Ky. Apr. 1, 2024) (noting such costs establish an

 injury for standing). Even the Department admits that the gender-identity mandate would require

 many schools to “updat[e] policies or training materials” and host trainings for employees and Title

 IX coordinators at substantial expense, among other compliance-related costs. 89 Fed. Reg. at 33,867,

 33,876 (discussing 34 C.F.R. § 106.31(a)(2)). Plaintiffs’ declarations confirm the Final Rule would


                                                     21
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 29 of 35 - Page ID#:
                                     873


 require State recipients to undertake significant and costly compliance activities to prepare for the

 August 1, 2024 effective date. See, e.g., Thompson Decl., Ex. B ¶¶ 9-11; Mason Decl., Ex. C ¶ 7. 6 The

 Department’s sovereign immunity guarantees that Plaintiffs could not later recover these sums.

        Second, enforcement of the Final Rule threatens to strip the States and their Title IX recipients

 of several billion dollars in federal support—endangering important programs that serve attendees of

 the States’ public schools, special schools, and higher education institutions. See, e.g., Bryson Decl.,

 Ex. A ¶¶ 3-5; Thompson Decl. ¶¶ 6-8; Gentile Decl., Ex. D ¶¶ 6-8. 7 The Final Rule makes clear that

 its gender-identity mandate and other provisions displace contrary state and school policies. 89 Fed.

 Reg. at 33,542. Because the States have policies that conflict with the Final Rule, they face Title IX

 funding losses should the Final Rule remain in place.

        Title IX funds support significant educational programs in the States. Plaintiffs distribute state

 and federal funding to local education agencies, and some operate public schools or special schools

 directly. By way of example:

    •   The Tennessee Department of Education directly operates and provides federal funds to spe-
        cial schools and certain public schools; it also receives and distributes federal funds to all Ten-
        nessee K-12 public schools, which educate about 968,683 students. Thompson Decl. ¶¶ 3-5.
    •   The Kentucky Department of Education receives and distributes hundreds of millions of dol-
        lars in federal funds to public primary and secondary schools in Kentucky, which educate more
        than 700,000 students. Thacker Decl. ¶¶ 3, 7.
    •   Virginia operates a special school for the deaf and blind, and the State Department of Educa-
        tion administers the distribution of more than a billion in federal funds to all Virginia K-12
        public schools, which educate about 1,261,962 students. Trice Decl. ¶ 3; Coons Decl. ¶¶ 3-5.

        6
         See also Garrison Decl., Ex. H ¶¶ 11-12; Deuth Dec., Ex. G ¶ 13; Coons Decl., Ex. J ¶ 9;
 Trice Decl., Ex. K ¶ 7; Tucker Decl., Ex. N ¶ 9.
        7
         See also Thacker Decl., Ex. F ¶¶ 6-10, 12; Blanton Decl., Ex. O ¶¶ 3-4; Deuth Dec. ¶ 6, 8-12;
 Garrison Decl. ¶¶ 6-9; Maul Decl., Ex. I ¶¶ 3-6; Coons Decl. ¶¶ 5-8; Edwards Decl., Ex. L ¶¶ 6-9;
 Purkey Decl., Ex. M ¶¶ 6-9; Tucker Decl. ¶¶ 5-8.



                                                    22
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 30 of 35 - Page ID#:
                                     874


 Title IX funds—which comprise substantial portions of Plaintiffs’ state-education budgets—allow

 schools to fund professional school and service personnel positions, provide supplemental educational

 support and materials to students, offer non-academic support for students, support vulnerable stu-

 dent populations, provide professional learning opportunities for teachers, and offer student technol-

 ogy. 8 See, e.g., Thompson Decl. ¶ 6; Coons Decl. ¶ 6; Purkey Decl. ¶¶ 7, 9. Losing Title IX funds

 would require those schools to eliminate certain services or seek new funding for them. See, e.g.,

 Thompson Decl. ¶¶ 7-8; Coons Decl. ¶¶ 7-8; Purkey Decl. ¶¶ 8-9.

         The States also support postsecondary educational institutions that are Title IX recipients.

 Tennessee, for its part, currently has fifty-two public institutions of higher learning, including ten

 public universities, two special-purpose institutes, thirteen community colleges, and twenty-seven col-

 leges of applied technology. Gentile Decl. ¶ 3. Public higher education institutions in Tennessee

 received an estimated $4.2 million in federal funds administered by the U.S. Department of Education

 in Fiscal Year 2022-23, subjecting them to Title IX. Bryson Decl. ¶ 5; see also Compl. ¶¶ 200-04. These

 institutions in Tennessee and those in other States use federal funds for many purposes, including

 student loans, research, veterans’ affairs, and funding historically black colleges and universities. See,

 e.g., Gentile Decl. ¶ 7; Tucker Decl. ¶ 7. 9 Losing their Title IX funds would require those institutions

 to eliminate educational services or seek new funding and might interrupt the educations of students

 with federal tuition support. See, e.g., Gentile Decl. ¶ 8; Garrison Decl. ¶ 9; see also supra note 9.


         For example, educational programs and activities funded through the Tennessee Department
         8

 of Education received an estimated $1.5 billion in federal funds administered by the U.S. Department
 of Education in Fiscal Year 2022–23, making up approximately 17.6% of the Tennessee Department’s
 budget. Bryson Decl. ¶ 3; see also, e.g., Compl. ¶ 198; Maul Decl. ¶¶ 3-6; Purkey Decl. ¶ 6.
         9
             See also Compl. ¶ 205; Garrison Decl. ¶ 8; Edwards Decl. ¶¶ 8-9.




                                                      23
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 31 of 35 - Page ID#:
                                     875


         Third, the Final Rule derogates the States’ “sovereign interests in enforcing duly enacted state

 laws.” Tennessee, 615 F. Supp. 3d at 841; see also Cameron v. EMW Women’s Surgical Ctr., P.S.C., 595 U.S.

 267, 277 (2022) (describing this power as “[p]aramount among the States’ retained sovereign powers”).

 And “any time a State is [prevented] from effectuating statutes enacted by representatives of its peo-

 ple,” it suffers irreparable harm. Thompson v. DeWine, 976 F.3d 610, 619 (6th Cir. 2020); see also Tennessee,

 615 F. Supp. 3d at 841 (collecting cases). Compliance with the Final Rule would prevent many Plaintiff

 States from enforcing their laws permitting sex separation in private spaces and sports, thus inflicting

 irreparable injury. 10 Similarly, the Final Rule’s prohibition of harassment based on gender identity

 could coerce schools into noncompliance with the States’ laws protecting student and faculty speech

 and requiring use of sex in school registration and activities. See Compl. ¶¶ 213-17. In light of the

 Biden Department’s history of enforcing Title IX to prohibit so-called “misgendering” and other con-

 cepts contrary to Plaintiff States’ laws, see Compl. ¶¶ 180, 213 & n.30, as well as the threat of private

 suit for Title IX violations, see Davis, 526 U.S. at 642-43, 650, the States “will . . . face substantial

 pressure” to disregard their own laws “in order to avoid material legal consequences.” Tennessee, 615

 F. Supp. 3d at 841; cf. Davis, 526 U.S. at 657-58 (Kennedy, J., dissenting) (making a similar prediction).

         Finally, the Final Rule would force Plaintiff States’ citizens to endure a variety of irremediable

 harms. To name just a few: Students of both sexes would experience violations of their bodily privacy

 by students of a different sex. Cf. Fortner v. Thomas, 983 F.2d 1024, 1030 (11th Cir. 1993) (recognizing

 that “most people have ‘a special sense of privacy in their genitals, and involuntary exposure of them

 in the presence of people of the other sex may be especially demeaning and humiliating’” (citation


         10
            See Compl. ¶¶ 206, 208-12; see also e.g., Ky. Rev. Stat. § 158.189 (requiring local school boards
 to adopt policies that do “not allow students to use restrooms, locker rooms, or shower rooms that
 are reserved for students of a different biological sex”); Black Decl., Ex. E ¶¶ 3-15 & accompanying
 exhibits (similar); Mason Decl. ¶¶ 4-5; Ohio Rev. Code § 3313.5320(B) (similar as to sports).

                                                      24
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 32 of 35 - Page ID#:
                                     876


 omitted)) (collecting cases); Grimm, 972 F.3d at 633-34 (Niemeyer, J., dissenting) (collecting similar

 cases). The risk of “inappropriate sexual behavior” toward other students would be heightened. Cf.

 Doe v. Metro. Gov’t of Nashville & Davidson Cnty., 35 F.4th 459, 464 (6th Cir. 2022); Doc. # 1-3 at 10-12.

 And elimination of female sports resulting from the Final Rule would cause female athletes to face

 unfair and unsafe competition. See Compl. ¶¶ 52-58, 133. Judicial relief would avert these harms.

 III.    Preliminary Relief Will Not Harm the Department or the Public Interest.

         For the reasons given, the States have a strong likelihood of success on the merits and confront

 substantial, imminent irreparable harm. The Department thus “faces a high hurdle” in establishing

 that the remaining two factors weigh against granting relief. Biden, 57 F.4th at 556. And the Depart-

 ment cannot clear it. Granting a stay would serve the public interest by ensuring that the States may

 continue to enforce their laws protecting privacy, safety, and student and faculty speech without risk-

 ing the loss of Title IX funding. Moreover, granting a stay will merely preserve the status quo pending

 review. And the Department cannot credibly claim that time is of the essence, after taking nearly two

 years to complete this rulemaking and some fifty years to reach the novel conclusion that Title IX’s

 prohibition of discrimination based on “sex” refers to something completely different than sex.

         Conversely, “the public’s true interest lies in the correct application of the law,” including Title

 IX. Kentucky v. Biden, 23 F.4th 585, 612 (6th Cir. 2022). “Enforcing the Spending Clause’s limitations”

 also serves the public interest by “help[ing] preserve state sovereignty and the [Framers’] ‘two-govern-

 ment system.’” West Virginia v. U.S. Dep’t of Treasury, 59 F.4th 1124, 1149 (11th Cir. 2023) (citation

 omitted). Thus, far from harming the public interest, granting preliminary relief would promote it.

                                             CONCLUSION

          For the foregoing reasons, this Court should grant Plaintiff States’ motion for a stay under 5

  U.S.C. § 705 and a preliminary injunction.


                                                     25
    Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 33 of 35 - Page ID#:
                                         877


      Dated: May 3, 2024                         Respectfully submitted,

RUSSELL COLEMAN                                  JONATHAN SKRMETTI
 Attorney General                                 Attorney General and Reporter

/s/ Lindsey R. Keiser                            /s/ Whitney D. Hermandorfer
JUSTIN D. CLARK                                  J. MATTHEW RICE*
   Civil Chief                                      Solicitor General
VICTOR B. MADDOX                                 WHITNEY D. HERMANDORFER*
   Counsel for Special Litigation                   Director of Strategic Litigation
LINDSEY R. KEISER                                STEVEN J. GRIFFIN*
   Assistant Attorney General                       Senior Counsel for Strategic Litigation &
Kentucky Office of the Attorney General          Assistant Solicitor General
700 Capital Avenue, Suite 118                    VIRGINIA N. ADAMSON*
Frankfort, Kentucky 40601                           Counsel for Strategic Litigation &
(502) 696-5300                                   Assistant Solicitor General
victor.maddox@ky.gov                             BRIAN DANIEL MOUNCE*
justind.clark@ky.gov                                Counsel for Strategic Litigation &
lindsey.keiser@ky.gov                            Assistant Solicitor General
                                                 Office of the Tennessee Attorney General
Counsel for the Commonwealth of Kentucky         P.O. Box 20207
                                                 Nashville, Tennessee 37202
                                                 (615) 741-3491
                                                 matt.rice@ag.tn.gov
                                                 whitney.hermandorfer@ag.tn.gov
                                                 steven.griffin@ag.tn.gov
                                                 jenna.adamson@ag.tn.gov
                                                 brian.mounce@ag.tn.gov

                                                 Counsel for the State of Tennessee




                                            26
    Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 34 of 35 - Page ID#:
                                         878


THEODORE E. ROKITA                               DAVE YOST
 Attorney General                                 Attorney General

/s/ James A. Barta                               /s/T. Elliot Gaiser
JAMES A. BARTA*                                  T. ELLIOT GAISER*
  Solicitor General                                Solicitor General
CORRINE L. YOUNGS*                               MATHURA SRIDHARAN*
  Policy Director and Legislative Counsel          Deputy Solicitor General
JOSHUA DAVID*                                    Office of the Ohio Attorney General
  Deputy Attorney General - Policy               30 East Broad Street, 17th Floor
Indiana Attorney General’s Office                Columbus, Ohio 43215
IGCS – 5th Floor                                 (614) 466-8980
302 W. Washington St.                            thomas.gaiser@ohioago.gov
Indianapolis, IN 46204                           mathura.sridharan@ohioago.gov
(317) 232-0709
james.barta@atg.in.gov
corrine.youngs@atg.in.gov                        Counsel for the State of Ohio
joshua.david@atg.in.gov

Counsel for the State of Indiana



JASON S. MIYARES                                 PATRICK MORRISEY
  Attorney General                                Attorney General

/s/ Kevin M. Gallagher                           /s/ Michael R. Williams
KEVIN M. GALLAGHER*                              MICHAEL R. WILLIAMS*
  Principal Deputy Solicitor General               Principal Deputy Solicitor General
BRENDAN T. CHESTNUT*                             Office of the West Virginia Attorney General
  Deputy Solicitor General                       State Capitol, Bldg. 1, Room E-26
Virginia Attorney General’s Office               1900 Kanawha Blvd. E.
202 North 9th Street                             Charleston, West Virginia 25305
Richmond, Virginia 23219                         304-558-2021
(804) 786-2071                                   michael.r.williams@wvago.gov
kgallagher@oag.state.va.us
bchestnut@oag.state.va.us                        Counsel for the State of West Virginia

Counsel for the Commonwealth of Virginia




                                            27
Case: 2:24-cv-00072-DCR-CJS Doc #: 19-1 Filed: 05/03/24 Page: 35 of 35 - Page ID#:
                                     879


                                 CERTIFICATE OF SERVICE

        I certify that on May 3, 2024, the above document was filed with the CM/ECF filing system
 and sent via regular U.S. mail, postage prepaid, to:

        Miguel Cardona
        United States Department of Education
        400 Maryland Avenue SW
        Washington, D.C. 20202

        United States Department of Education
        400 Maryland Avenue SW
        Washington, D.C. 20202


                                                     /s/ Lindsey R. Keiser
                                                     Lindsey R. Keiser




                                                28
